Case 2:03-cV-02919-BBD-tmp Document 14 Filed 08/30/05 Page 1 of 2 Page|D 23

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IN THE UNITED STATES DISTRICT COURT05 AUG 30 AH lo= 1,5
FOR THE WESTERN DISTRICT OF TENNESSEEM
WESTERN DIVISION ag%ys §,tqmmm

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TANYA HOLLIMAN,

Plaintiff, Case No.: 03-2919 D P

v.
SHELBY COUNTY GOVERNMENT,

Defendant.

 

ORDER GRANTING MOTION TO LIFT STAY
AND SETTING STATUS CONFERENCE

 

Beforc the court is Plaintiff’ s Motion to Lift Stay and Defendant’s Response Thereto. Upon
review of the motion, and the entire case record, it appears that Plaintiff’s motion is well-taken. lt
further appears that Plaintiff does not have an active bankruptcy case, and the Circuit case has been
decided. Accordingly, the stay is lifted, and the matter is set for a status/scheduling conference on

Friday, September 9, 2005, at 8:45 a.rn.

IT ls so 0RDERED this Zj day of@_éu,,d£, 2005.
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This notice confirms a copy of the document docketed as number 14 in
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Honorable Bernice Donald
US DISTRICT COURT

